                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI

LYNN PITTS, individually and on behalf of          )
all others similarly situated,                     )
                                                   )
       Plaintiff,                                  )
                                                   )
v.                                                 )      Case No. 4:22-cv-00819
                                                   )
WASATCH MEDICAL GROUP, LLC, and                    )
ANDREW RINEHART,                                   )
                                                   )

                      VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Lynn Pitts hereby

dismisses this matter without prejudice. Defendant has filed neither an answer nor a motion for

summary judgment.

Date: June 12, 2023                                Respectfully Submitted,


                                                   By: /s/ Brandon M. Wise
                                                   Brandon M. Wise – IL Bar # 6319580
                                                   PEIFFER WOLF CARR
                                                   KANE CONWAY & WISE, LLP
                                                   818 Lafayette Ave., Floor 2
                                                   St. Louis, MO 63104
                                                   Ph: 314-833-4825
                                                   Email: bwise@peifferwolf.com

                                                   COUNSEL FOR PLAINTIFF




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                                    CERTIFICATE OF SERVICE

       I hereby certify that on this date, I filed the foregoing document with the clerk of the Court
using the Court’s ECF system, which should further distribute a true and accurate copy of the
foregoing to all counsel of record.


                                                      /s/ Brandon M. Wise




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